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                          IN THE DISTRICT COURT OF THE UNITED STATES
                              FOR THE MIDDLE DISTRICT OF ALABAMA
                                       NORTHERN DIVISION

JAMES R. NEKVASIL, JR.,                        )
Reg. No. 04317-027,                            )
                                               )
             Plaintiff,                        )
                                               )
   v.                                          )    CIVIL ACTION NO. 2:20-cv-274-ECM
                                               )
FEDERAL BUREAU OF                              )
PRISONS, et al.,                               )
                                               )
             Defendants.                       )

                                               ORDER

         On July 29, 2020, the Magistrate Judge entered a Recommendation (doc. 22) to which

no timely objections have been filed. After an independent review of the file and upon

consideration of the Recommendation, and for good cause, it is

         ORDERED as follows that:

        1.       the Recommendation of the Magistrate Judge is ADOPTED;

        2.       the Plaintiff’s claims against the Defendant Bureau of Prisons are DISMISSED

without prejudice in accordance with the provisions of 28 U.S.C. § 1915A(e)(2)(B)(ii);

        3.       Defendant Bureau of Prisons is DISMISSED as a party; and

        4.       this case against the remaining defendants is referred back to the Magistrate Judge

for further proceedings.

        Done this 24th day of August, 2020.

                                           /s/ Emily C. Marks
                                     EMILY C. MARKS
                                     CHIEF UNITED STATES DISTRICT JUDGE
